

Lorne v 50 Madison Ave LLC (2021 NY Slip Op 05631)





Lorne v 50 Madison Ave LLC


2021 NY Slip Op 05631


Decided on October 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 14, 2021

Before: Gische, J.P., Moulton, González, Kennedy, Scarpulla, JJ. 


Index No. 602769/07 Appeal No. 14358 Case No. 2021-00157 

[*1]Simon Lorne et al., Plaintiffs-Respondents,
v50 Madison Ave LLC et al., Defendants-Appellants, Goldstein Properties, LLC, et al., Defendants.


Clark Guldin, New York (Janesa Urbano of counsel), for appellants.
Schwartz Sladkus Reich Greenberg Atlas LLP, New York (Stephen H. Orel of counsel), for respondents.



Order, Supreme Court, New York County (Sherry Klein Heitler, J.), entered on or about November 18, 2020, which, to the extent appealed from as limited by the briefs, denied defendants 50 Madison Ave LLC and Samson Management LLC's motion for partial summary judgment insofar as it sought dismissal of plaintiffs' second cause of action, for fraud, unanimously affirmed, without costs.
The court correctly denied defendants' motion for partial summary judgment regarding the fraud claim on the grounds that it had denied a prior summary judgment motion by defendants which made the same arguments. Defendants did not submit any new factual assertions or evidence that were unavailable to defendants before the prior motion, and they failed to show sufficient cause for making the second motion (see Jones v 636 Holding Corp., 73 AD3d 409, 409 [1st Dept 2010]; 11 Essex St. Corp. v Tower Ins. Co. of N.Y., 81 AD3d 516, 517 [1st Dept 2011]).
In light of the foregoing, we need not reach the remaining issues raised.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 14, 2021








